Case 12-71677         Doc 39      Filed 02/23/17      Entered 02/23/17 16:19:43            Desc    Page 1
                                                     of 4




                             UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF GEORGIA
                                    VALDOSTA DIVISION

In re:                                                         Case No. 12-71677-JTL
         Eddie L. Childs

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        A. Kristin Hurst, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 11/29/2012.

         2) The plan was confirmed on 04/25/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1328 on
NA .

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was completed on 08/19/2016.

         6) Number of months from filing to last payment: 45.

         7) Number of months case was pending: 51.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $300.00.

         10) Amount of unsecured claims discharged without payment: $32,222.22.

         11) All checks distributed by the trustee relating to this case have cleared the bank .



UST Form 101-13-FR-S (9/1/2009)
Case 12-71677          Doc 39      Filed 02/23/17       Entered 02/23/17 16:19:43           Desc      Page 2
                                                       of 4



 Receipts:

            Total paid by or on behalf of the debtor             $7,350.00
            Less amount refunded to debtor                         $229.00

 NET RECEIPTS:                                                                                   $7,121.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                $3,000.00
     Court Costs                                                              $0.00
     Trustee Expenses & Compensation                                        $388.49
     Other                                                                    $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $3,388.49

 Attorney fees paid and disclosed by debtor:                      $0.00


 Scheduled Creditors:
 Creditor                                          Claim       Claim          Claim      Principal    Int.
 Name                                  Class     Scheduled    Asserted       Allowed       Paid       Paid
 Afni, Inc                         Unsecured         763.00      763.08         763.08        40.21      0.00
 BANK OF AMERICA N.A.              Unsecured      11,000.00         NA             NA          0.00      0.00
 CHASE                             Unsecured           0.00         NA             NA          0.00      0.00
 CREDIT BUREAU ASSOCIAT ES         Unsecured      11,000.00   13,976.62      13,976.62       736.65      0.00
 FIRST FRANKLIN FINANCIAL CORP     Unsecured            NA         0.00         202.93        10.70      0.00
 FIRST FRANKLIN FINANCIAL CORP     Secured         2,130.00    2,032.93       1,830.00     1,830.00    117.22
 FREDERICK J. HANNA                Unsecured           0.00         NA             NA          0.00      0.00
 GA DEPT OF REVENUE                Unsecured            NA       175.00         175.00         9.22      0.00
 GA DEPT OF REVENUE                Priority            0.00      882.00         882.00       882.00      0.00
 GWINET T MAGIST RAT E COURT       Unsecured           0.00         NA             NA          0.00      0.00
 H and R Block Bank                Unsecured         414.00      414.25         414.25        21.83      0.00
 INT ERNAL REVENUE SERVICE         Priority            0.00         NA             NA          0.00      0.00
 IRWIN COUNT Y HOSPIT AL           Unsecured           0.00         NA             NA          0.00      0.00
 MIDLAND CREDIT MANAGEMENT         Unsecured       4,805.00         NA             NA          0.00      0.00
 PORT FOLIO INVEST MENT S II LLC   Unsecured            NA     1,177.45       1,177.45        62.06      0.00
 PREMIER BANKCARD/CHART ER         Unsecured         429.00      429.18         429.18        22.62      0.00
 ROUND T WO RECOVERY, LLC.         Unsecured         182.00         NA             NA          0.00      0.00
 T IFT GENERAL HOSPIT AL           Unsecured           0.00         NA             NA          0.00      0.00




UST Form 101-13-FR-S (9/1/2009)
Case 12-71677      Doc 39    Filed 02/23/17    Entered 02/23/17 16:19:43        Desc    Page 3
                                              of 4



 Summary of Disbursements to Creditors:
                                                       Claim        Principal          Interest
                                                    Allowed             Paid              Paid
 Secured Payments:
       Mortgage Ongoing                                $0.00           $0.00             $0.00
       Mortgage Arrearage                              $0.00           $0.00             $0.00
       Debt Secured by Vehicle                     $1,830.00       $1,830.00           $117.22
       All Other Secured                               $0.00           $0.00             $0.00
 TOTAL SECURED:                                    $1,830.00       $1,830.00           $117.22

 Priority Unsecured Payments:
         Domestic Support Arrearage                   $0.00           $0.00              $0.00
         Domestic Support Ongoing                     $0.00           $0.00              $0.00
         All Other Priority                         $882.00         $882.00              $0.00
 TOTAL PRIORITY:                                    $882.00         $882.00              $0.00

 GENERAL UNSECURED PAYMENTS:                      $17,138.51        $903.29              $0.00

 Disbursements:

        Expenses of Administration                     $3,388.49
        Disbursements to Creditors                     $3,732.51

 TOTAL DISBURSEMENTS :                                                            $7,121.00




UST Form 101-13-FR-S (9/1/2009)
Case 12-71677        Doc 39      Filed 02/23/17      Entered 02/23/17 16:19:43             Desc      Page 4
                                                    of 4




        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 02/23/2017
                                               By: /s/ A. Kristin Hurst
P.O. Box 1907                                                             Trustee
Columbus, GA 31902
Phone (706) 327-4151
ecf@ch13trustee.com



STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
